Case 4:07-cr-40032-SMY     Document 117 Filed 09/27/07     Page 1 of 1   Page ID
                                     #200



                 IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,
     Plaintiff,

v.

NICHOLAS A. WALKER,

      Defendant.                                    Case No. 07-cr-40032-7-DRH


                                     ORDER

HERNDON, District Judge:

            On September 13, 2007, the Court issued an Order for a psychiatrict

examination of defendant Nicholas Walker (Doc. 115). This Order is to supplement

and clarify the Court’s September 13, 2007 Order (Doc. 115), to state that this

psychiatric examination of defendant Walker may be conducted by a forensic

psychologist, utilized by the Federal Bureau of Prisons.

            IT IS SO ORDERED.

            Signed this 27th day of September, 2007.

                                                    /s/    DavidRHerndon
                                                    United States District Judge
